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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA

    ERNST & HAAS MANAGEMENT                  Case No. 2:20-cv-04062-AB (PVCx)
    COMPANY INC.,
                      Plaintiff,             ORDER DISMISSING ACTION
                                             WITH PREJUDICE
    vs.

    HISCOX, INC.,
                      Defendant.




          The Court has considered the parties’ Stipulation for Dismissal with
   Prejudice. (Dkt. No. 36). Good cause appearing, it is hereby ORDERED that,
   pursuant to Federal Rule of Civil Procedure 41(a)(2), this action is
   DISMISSED in its entirety WITH PREJUDICE.




   DATED:      May 27, 2022        _____________________________________
                                   Hon. André Birotte Jr.
                                   United States District Judge
